 Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 1 of 11 PageID #: 132




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                             Chapter 11
 ASHINC Corporation, et al.,
                                                    Case No. 12-11564 (CSS)
                               Debtors.             (Jointly Administered)

 CATHERINE E. YOUNGMAN, LITIGATION TRUSTEE
 FOR ASHINC CORPORATION, ET. AL., AS
 SUCCESSOR TO THE OFFICIAL COMMITTEE OF
 UNSECURED CREDITORS OF ASHINC                      Adv. Proc. No. 13-50530
 CORPORATION, AND ITS AFFILIATED DEBTORS            (CSS)

                      Appellant-Plaintiff,
                                                    Civ. No. 1:22-cv-00634 (CFC)
 BDCM OPPORTUNITY FUND II, LP, BLACK
 DIAMOND CLO 2005-1 LTD., and SPECTRUM
 INVESTMENT PARTNERS, L.P.,

                      Intervenors,

                      v.

 YUCAIPA AMERICAN ALLIANCE FUND I, L.P., and
 YUCAIPA AMERICAN ALLIANCE (PARALLEL) FUND
 I, L.P.,
                       Appellees-Defendants.
 CATHERINE E. YOUNGMAN, LITIGATION TRUSTEE
 FOR ASHINC CORPORATION, ET AL., AS SUCCESSOR
 TO BDCM OPPORTUNITY FUND II, LP, BLACK
 DIAMOND CLO 2005-1 LTD., SPECTRUM                Adv. Proc. No. 14-50971
 INVESTMENT PARTNERS, L.P., BLACK DIAMOND         (CSS)
 COMMERCIAL FINANCE, L.L.C., as co-administrative
 agent, and SPECTRUM COMMERCIAL FINANCE LLC,
 as co-administrative agent,
                                                  Civ. No. 1:22-cv-00635 (CFC)
                     Appellant-Plaintiff,

                     v.

 YUCAIPA AMERICAN ALLIANCE FUND I, L.P., and
 YUCAIPA AMERICAN ALLIANCE (PARALLEL) FUND
 I, L.P.,

                     Appellees-Defendants.



134495421.1
    Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 2 of 11 PageID #: 133




           APPELLANT’S DESIGNATION OF THE RECORD ON APPEAL
         AND STATEMENT OF THE ISSUES TO BE PRESENTED ON APPEAL

I.      Designation of Items to be Included in the Record on Appeal

        Appellant-Plaintiff Catherine E. Youngman, as Litigation Trustee (the “Trustee”) for

ASHINC Corporation (formerly known as Allied System Holdings, Inc.) and related Debtors

(“Allied”), hereby designates the following items 1 to be included in the record on appeal and

hereby states the issues to be presented on appeal pursuant to Federal Rule of Bankruptcy

Procedure 8009(a)(1)(A).

        Adv. Pro. No. 13-50530 (CSS)

          Adv. Pro. No.             Date Filed or Submitted                Description
            13-50530
           Docket No.
                                                                    Opinion on Cross-Motions
              825                           5/4/2021
                                                                      for Summary Judgment
                                                                   Order on Cross-Motions for
              826                           5/4/2021
                                                                        Summary Judgment
                                                                   Judgment on Cross-Motions
              841                           6/23/2021
                                                                      for Summary Judgment
              958                           2/23/2022                 Defendants’ Trial Brief
                                                                           Joint Pre-Trial
              960                           2/23/2022
                                                                           Memorandum 2
                                                                   Litigation Trustee’s Pre-Trial
              961                           2/23/2022
                                                                                Brief
                                                                    Transcript of Hearing Held
              969                           3/3/2022
                                                                      3/1/2022 (a.m. session)
                                                                    Transcript of Hearing Held
              970                           3/3/2022
                                                                      3/1/2022 (p.m. session)


1
       Unless otherwise indicated, the designation of each item includes any exhibits and/or
attachment filed together with that item under the same docket number. The designation also
includes the sealed version of any document that was filed under seal.
2
        Flash drives containing all trial exhibits were provided to the Bankruptcy Court on March
22, 2022 (see cover letter and combined exhibit list attached as Exhibit A) and flash drives
containing highlighted transcripts and video clips of the parties’ deposition designations and
counter-designations were provided to the Bankruptcy Court on April 7, 2022 (see cover letter and
list of deposition designations attached as Exhibit B). Should Your Honor require additional
copies of these flash drives, counsel for the Trustee is happy to provide them upon request.

134495421.1
 Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 3 of 11 PageID #: 134




                                                    Transcript of Hearing Held
              973                 3/4/2022
                                                       3/2/2022 (a.m. session)
                                                    Transcript of Hearing Held
              974                 3/4/2022
                                                      3/2/2022 (p.m. session)
                                                    Transcript of Hearing Held
              975                 3/4/2022
                                                               3/3/2022
                                                    Transcript of Hearing Held
              977                 3/7/2022
                                                       3/4/2022 (a.m. session)
                                                    Transcript of Hearing Held
              980                 3/8/2022
                                                      3/4/2022 (p.m. session)
                                                    Transcript of Hearing Held
              981                 3/8/2022
                                                               3/7/2022
                                                    Transcript of Hearing Held
              982                 3/8/2022
                                                               3/8/2022
                                                    Order Approving Stipulation
                                                    Concerning the Authenticity
                                                     and Admission of Certain
              990                 3/16/2022           Documents for Trial (Ex.
                                                    543, PX EE, PX FF) in Lieu
                                                     of Testimony of Stephanie
                                                                 Bond
                                                    Order Approving Stipulation
              994                 3/17/2022           in Lieu of Testimony of
                                                      Catherine E. Youngman
                                                    Transcript of Hearing Held
              998                 3/18/2022
                                                              3/17/2022
                                                    Stipulation Regarding Trial
              1000                4/21/2022
                                                               Exhibits
                                                        [SEALED] Litigation
                                                     Trustee’s [Proposed] Post-
              1001                4/21/2022
                                                     Trial Findings of Fact and
                                                         Conclusions of Law
                                                       Defendants’ Proposed
              1002                4/21/2022              Findings of Fact and
                                                         Conclusions of Law
                                                         Findings of Fact and
              1006                5/2/2022
                                                    Conclusions of Law (CAS)
              1008                 5/2/2022                   Judgment
              1010                5/12/2022               Notice of Appeal




134495421.1
 Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 4 of 11 PageID #: 135




        Adv. Pro. No. 14-50971 (CSS)

          Adv. Pro. No.          Date Filed or Submitted           Description
            14-50971
           Docket No.
                                                             Opinion on Cross-Motions
              563                       5/4/2021
                                                              for Summary Judgment
                                                            Order on Cross-Motions for
              564                       5/4/2021
                                                                 Summary Judgment
                                                           Judgment on Cross-Motions
              579                      6/23/2021
                                                              for Summary Judgment
              694                      2/23/2022              Defendants’ Trial Brief
              696                      2/23/2022           Joint Pre-Trial Memorandum
                                                           Litigation Trustee’s Pre-Trial
              697                      2/23/2022
                                                                        Brief
                                                            Transcript of Hearing Held
              705                       3/3/2022
                                                               3/1/2022 (a.m. session)
                                                            Transcript of Hearing Held
              706                       3/3/2022
                                                              3/1/2022 (p.m. session)
                                                            Transcript of Hearing Held
              709                       3/4/2022
                                                               3/2/2022 (a.m. session)
                                                            Transcript of Hearing Held
              710                       3/4/2022
                                                              3/2/2022 (p.m. session)
                                                            Transcript of Hearing Held
              711                       3/4/2022
                                                                      3/3/2022
                                                            Transcript of Hearing Held
              713                       3/7/2022
                                                               3/4/2022 (a.m. session)
                                                            Transcript of Hearing Held
              716                       3/8/2022
                                                              3/4/2022 (p.m. session)
                                                            Transcript of Hearing Held
              717                       3/8/2022
                                                                      3/7/2022
                                                            Transcript of Hearing Held
              718                       3/8/2022
                                                                      3/8/2022
                                                           Order Approving Stipulation
                                                           Concerning the Authenticity
                                                             and Admission of Certain
              726                      3/16/2022              Documents for Trial (Ex.
                                                            543, PX EE, PX FF) in Lieu
                                                             of Testimony of Stephanie
                                                                        Bond
                                                           Order Approving Stipulation
              730                      3/17/2022              in Lieu of Testimony of
                                                              Catherine E. Youngman
                                                            Transcript of Hearing Held
              734                      3/18/2022
                                                                     3/17/2022



134495421.1
    Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 5 of 11 PageID #: 136




                                                                    Stipulation Regarding Trial
              736                           4/21/2022
                                                                               Exhibits
                                                                       [SEALED] Litigation
                                                                    Trustee’s [Proposed] Post-
              737                           4/21/2022
                                                                     Trial Findings of Fact and
                                                                        Conclusions of Law
                                                                       Defendants’ Proposed
              738                           4/21/2022                   Findings of Fact and
                                                                        Conclusions of Law
                                                                        Findings of Fact and
              742                            5/2/2022
                                                                    Conclusions of Law (CAS)
              744                            5/2/2022                         Judgment
              746                           5/12/2022                    Notice of Appeal

II.     Statement of Issues to be Presented on Appeal

        On May 2, 2022, the Bankruptcy Court issued a Judgment 3 contemporaneous with entry

of Findings of Fact and Conclusions of Law 4 with respect to the Trustee’s “Remaining Claims”

tried before the Bankruptcy Court in March 2022 for: (i) Breach of Fiduciary Duty (Estate Claim

7); (ii) Breach of the Implied Covenant of Good Faith and Fair Dealing (Lender Claim 3); and

(iii) Equitable Subordination (Estate Claim 1/Lender Claim 1). 5 Despite holding that Yucaipa

breached its fiduciary duty to Allied’s Estate and the implied covenant of good faith and fair

dealing owed to Allied’s First Lien Lenders, the Bankruptcy Court found that the Trustee failed

to establish damages as a result of those breaches and that Yucaipa, therefore, should not be

equitably subordinated. (Findings at p. 120). The 5/2/22 Judgment should be reversed.

        Critically, the Bankruptcy Court erred by imposing a burden on the Trustee to establish

damages that is inconsistent with what is required once a breach of fiduciary duty is found (under



3
        13-50530, D.I. 1008; 14-50971, D.I. 744 (the “5/2/22 Judgment”)
4
        13-50530, D.I. No. 1006; 14-50971, D.I. Nos. 742 (“Findings”).
5
        The 5/2/22 Judgment provides that it “solely pertains to these Remaining Claims” and does
not disturb an earlier Judgment entered on June 23, 2021, awarding the Trustee damages in the
amount of $132,431,957.00 (inclusive of pre-judgment interest), plus post-judgment interest on
Estate Claim 5 (Breach of Contract), and Estate Claims 10, 11, and 13 (Fraudulent Transfers and
Disallowance Claims). See 5/2/22 Judgment at n.1.

134495421.1
 Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 6 of 11 PageID #: 137




settled Delaware law) or a breach of the implied covenant of good faith and fair dealing is found

(under settled New York law). Given its breaches, Yucaipa bore the burden of establishing there

was no likelihood of a deal with a highly-motivated third-party suitor for Allied named Jack

Cooper Transport (“JCT”) in late 2011 through spring 2012 (the “JCT Negotiations”) for a

higher price than the one that JCT ultimately paid for Allied in late 2013 — after Allied had been

languishing in a bankruptcy for 18 months. Further, any uncertainty in damages should have

been resolved against Yucaipa as the wrongdoer.

        Despite correctly finding that Yucaipa should have used its control over Allied to create a

fair process to exploit JCT’s interest in acquiring Allied — and that that Yucaipa’s failure to do

so and its “intransigence” killed the JCT Negotiations — the Bankruptcy Court failed to hold the

uncertainties caused by Yucaipa’s misconduct against it. Instead, the Bankruptcy Court held that

the Trustee could not prove her damages case because her estimate was based on a single “highly

contingent” term sheet dated December 19, 2011, that it found was used “solely to maximize

damages” and included certain unreasonable assumptions. (See, e.g., Findings at 6-7, ¶216).

These holdings erred by, among other things, overlooking that Yucaipa’s misconduct prevented

the term sheets exchanged during the JCT Negotiations from developing into a consummated

transaction on equal terms for all Lenders. Moreover, the holding ignored clear evidence in the

record demonstrating that the Trustee presented a responsible a measure of damages that were

not solely tied to the December 19, 2011, term sheet. The Bankruptcy Court exacerbated these

errors by relying on them in concluding that equitable subordination of Yucaipa’s First Lien

Debt holdings was unwarranted.

        There are at least seven issues presented in this appeal:

        First, whether the Bankruptcy Court erred by failing to award damages to the Trustee for

Yucaipa’s breaches, notwithstanding the Trustee’s presentation of a responsible estimate of its


134495421.1
 Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 7 of 11 PageID #: 138




damages. See Bomarko, Inc. v. International Telecharge, Inc., 794 A.2d 1161, 1181 (Del. Ch.

1999), as revised (Nov. 16, 1999), aff’d, 766 A.2d 437 (Del. 2000) (once breach of fiduciary

duty has been established “[r]esponsible estimates that lack mathematical certainty are

permissible so long as the Court has a basis to make a responsible estimate of damages.”); see

also Spectra Audio Rsch., Inc. v. Chon, 62 A.D.3d 561, 564, 880 N.Y.S.2d 612, 616 (2009)

(when proving damages, “evidence that, as a matter of just and reasonable inference, shows their

existence and the extent thereof will suffice, even though the result is only an approximation.”)

(Citation omitted).

        Second, whether the Bankruptcy Court erred by holding that any uncertainty in damages

was not caused by Yucaipa — and should not be resolved against it — notwithstanding

Yucaipa’s established fiduciary breaches and the fact that its “intransigence” was held to have

been the reason the JCT Negotiations ended abruptly in spring 2012. See Auriga Cap. Corp. v.

Gatz Props., 40 A.3d 839, 877 (Del. Ch.), judgment entered, No. 4390-CS, 2012 WL 598121

(Del. Ch.), aff'd, 59 A.3d 1206 (Del. 2012) (once a breach of fiduciary duty is established, the

defendant “is responsible for the evidentiary uncertainty caused by his own disloyalty.”); see

also Queens Ballpark Co. v. Vysk Commc’ns, 226 F. Supp. 3d 254, 259 (S.D.N.Y. 2016) (“The

burden of uncertainty as to the amount of damage is upon the wrongdoer.”) (Citations omitted).

        Third, whether the Bankruptcy Court erred by overlooking clear evidence in the record

demonstrating that the Trustee was presenting a responsible estimate of the Estate’s damages and

Lender’s damages resulting from Yucaipa’s breaches. Such evidence includes, but is not limited

to:

        1. Testimony from the Trustee’s damages expert, Jeffrey M. Risius, CFA/ABV, CFA,

              ASA, that he considered the full population of JCT term sheets exchanged during the

              JCT Negotiations in determining the price that JCT was willing to pay to acquire


134495421.1
    Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 8 of 11 PageID #: 139




              Allied, contrary to the Bankruptcy Court’s finding that Mr. Risius’s analysis was

              “strategically based on a single, preliminary term sheet[.]” (Findings at ¶ 216).

        2. JCT term sheets — subsequent to December 2011 — contemplating higher values to

              purchase Allied’s assets than the implied value in the December 2011 term sheet,

              making clear that Mr. Risius, did not use the December 2011 term sheet “solely to

              maximize damages,” contrary to the Bankruptcy Court’s holding. 6

        3. Yucaipa’s internal valuations of Allied reflecting an “Implied Enterprise Value”

              ranging from a low of $266 million to a high of $394.1 million;

        4. Testimony from Yucaipa’s Founder and Managing Principal (Ron Burkle) that

              Yucaipa and JCT “got to an agreement” during the course of the JCT Negotiations

              “and everything about the agreement worked for everybody. And as I said over

              and over the [automotive] industry was back and so the deal would have worked.”

        5. Yucaipa’s judicial admissions that: (i) JCT was offering a pre-bankruptcy deal of

              $305 million to Allied’s First Lien debt and (ii) a JCT sale would have been

              consummated at $170 million more than the ultimate $135 million if not for the May

              2012 Bankruptcy filing;

        6. Testimony and documents demonstrating JCT’s willingness to pay a substantially

              higher value for Allied during the JCT Negotiations than it did following an

              18-month, litigious bankruptcy resulting from “Yucaipa’s intransigence” (Findings at

              ¶ 192), and that JCT was committed to credit bidding all First Lien Debt purchased in

              a pre-negotiated bankruptcy sale; and


6
       Among other errors, the Bankruptcy Court found that one of Allied’s Lenders, CIT, had
negotiated a most favored nations provision for any JCT deal in February 2012; however, the
Bankruptcy Court overlooked this fact when concluding that the December 2011 Term Sheet was
superseded by subsequent term sheets all contemplating lower values. (Compare Findings at ¶71
with Findings at p. 67).

134495421.1
 Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 9 of 11 PageID #: 140




        7. Records reflecting tens of millions of dollars in avoidable expenses incurred by the

              Estate resulting from Yucaipa’s intransigence and scorched-earth litigation tactics

              during Allied’s 18-month bankruptcy prior to the JCT sale in December 2013.

        Fourth, whether the Bankruptcy Court erred in failing to award damages to the Trustee

on the grounds that there was no “reasonable basis” in the record to conclude that a deal with

JCT would have been reached during the JCT Negotiations after concluding that Yucaipa “bore

the burden of establishing there was no likelihood of a JCT transaction” and that Yucaipa “did

not carry this burden at Trial.” (Findings at ¶¶ 180, 216).

        Fifth, whether the Bankruptcy Court erred in denying the Trustee’s equitable

subordination claim on the grounds that the Trustee failed to carry her burden of proving that

Allied or the Lenders suffered damages as a result of Yucaipa’s conduct in connection with the

JCT Negotiations after applying an erroneous burden on the Trustee on that underlying issue.

        Sixth, whether the Bankruptcy Court erred in denying the Trustee’s equitable

subordination claim on the grounds that the Trustee failed to present evidence that Yucaipa

caused Allied to commit events of default under Allied’s First Lien Credit Agreement

notwithstanding evidence presented and the Court’s holdings that, among other things, Yucaipa:

(i) “dominated every aspect of Allied’s capital structure and business” (Findings at ¶171), (ii)

“wielded its control over Allied as bargaining power that reflected ‘inappropriate favoritism’”

(id. at ¶175), (iii) strategically agreed to pay only one First Lien Lender’s principal and interest

owed after August 2009 (id. at ¶¶ 18-23), (iv) continually breached the First Lien Credit

Agreement by, among other things, preventing the First Lien Lenders receipt of principal and

interest payments, withholding financial information about Allied, withholding reasonable access

to Allied’s management, and filing multiple lawsuits and claims relating to the First Lien Credit




134495421.1
Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 10 of 11 PageID #: 141




Agreement, 7 and (v) ultimately refused to ensure equal and ratable treatment for First Lien

Lenders during negotiations with JCT in spring 2011 and, again, during the JCT Negotiations

(see, e.g., id. ¶¶ 50-53, 97, 101).

        Seventh, whether the Bankruptcy Court erred in denying the Lenders’ equitable

subordination claim on the grounds that “BD/S are the only meaningful beneficiaries of any

awards in this litigation” which ignores, among other things, that (i) BD/S funded years of

litigation, including years of defending itself from Yucaipa’s scorched-earth litigation tactics,

and (ii) other Lenders stand to benefit under the court-approved Litigation Waterfall. (Findings

at ¶ 237).




7
       13-50530, D.I. 825; 14-50971, D.I 563 (Summary Judgment Opinion dated May 5, 2021,
at 41-46)

134495421.1
Case 1:22-cv-00635-CFC Document 4 Filed 05/26/22 Page 11 of 11 PageID #: 142




Dated May 26, 2022
      Wilmington, DE
                                   FOX ROTHSCHILD LLP

                                   /s/ Seth A. Niederman
                                   Seth A. Niederman, Esq. (No. 4588)
                                   919 North Market Street, Suite 300
                                   Wilmington, DE 19899-2323
                                   Phone (302) 654-7444/Fax (302) 656-8920
                                   sniederman@foxrothschild.com

                                           -and-

                                   JOSEPH HAGE AARONSON LLC
                                   Gregory P. Joseph
                                   Gila S. Singer
                                   485 Lexington Avenue, 30th Floor
                                   New York, NY 10017
                                   Tel: (212) 407-1200
                                   gjoseph@jha.com

                                   -and-

                                   ZAIGER LLC
                                   Jeffrey H. Zaiger
                                   Judd A. Lindenfeld
                                   2187 Atlantic Street, 9th Floor
                                   Stamford, CT 06902
                                   Telephone: (917) 572-7701
                                   jzaiger@zaigerllc.com

                                   and

                                   COHEN & GRESSER LLP
                                   Douglas J. Pepe
                                   800 Third Avenue
                                   New York, NY 10022
                                   Tel: (212) 957-7605
                                   dpepe@cohengresser.com

                                   Attorneys for Appellant-Plaintiff
4854-0395-5233




134495421.1
